fase 2:22-cv-00268-JPH-MKK Document 1-1 Filed 07/05/22 Page 1 of 18 PagelD #: 6
0 indiana Department of Correction
Wabash Valley Correctional Facility

RECEIPT - ADMINISTRATIVE REMEDY

Date: 17-FEB-22

From: Thomas Wellington
WVC

To: Dornanique Johnson DOCH 478369
WVG Housing: PU-PU3-302L.
Current Facility: WVD

THIS ACKNOWLEDGES THE RECEIPT OF THE ADMINISTRATIVE REMEDY REQUEST IDENTIFIED BELOW:

Case ID: 438654 Level: |- Formal Grievance

Date Received: 17-FEB-22
Response Due: 11-MAR-22

Subject: Medical-Exc. Forced Treatment-Other Medical Matters
Case 2:22-cv-00268-JPH-MKK Document 1-1 Filed 07/05/22 Page 2 of 18 PagelD #: 7

NOTICE OF TORT CLAIM

TO: Indiana Political Subdivision Risk Management Commission, 311 West Washington Street,
Room 300, Indianapolis, indiana 46204;

The following is the name and address of each political subdivision (County, City, Town, etc.)

being notified of this claim: LOR, Me CS” Fret Flea, 42 E-33¢
Sz. Lleeet LA Lechinedae ZL, bachpls- BEL df, Ctr Lo Mitveté.x- )
Ege. Augeles Muse Meather C “le Garren

niece take Notice that ‘saimant Maven A892 “C\nasen DOC VWe3Lgwho presently

resides at Wabash Valley Correctional Facility, Post Office Box 1111, Carlisle, indiana, 47838, has a

claim in tort against the above respondents. At the time of the incident and loss, claimant resided at:

A short and plain statement of the facts upon which this claim is based to the best of
Claimant's knowledge, and includes: 1) the circumstances which brought about the incident and loss;
2) the extent of the incident and loss 3) the time and place where the incident and loss occurred, and
4) the names of all persons involved if known: (USE ADDITIONAL SHEET IF NECESSARY)

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Case 2:22-cv-00268-JPH-MKK Document 1-1 Filed 07/05/22 Page 3 of 18 PagelD #: 8

As a direct and proximate cause of the above-described incident and loss, Claimant seeks

compensation in the sum of $ FOI OOP forthe following damages he has suffered:

be kent head and pool
7

Claimant is seeking damages in the amount of $ LO, CAZ LE

ely yours,

Claimant
poc# VaR

6-33
Case 2:22-cv-00268-JPH-MKK Document 1-1 Filed 07/05/22 Page 4 of 18 PagelD #: 9

NOTICE OF TORF CLAIM

Pursuant to the requirements of the Indiana Tort Claim Act, Ind.Code $§ 34-13-3-1 et
seq.,

Dae Gite “Bhs gives notice that he has a claim against the State of Indiana and
the

Indiana Department of Correction. The Claimant would provide the folowing information

Concerning his claim:

L. The goiments name and D.O.C. number: Late: EP ‘dpi: Hid. Lhnsairr

2. The Claimant’s current residence:

Chekwdéh, Abe Care, Feehrh., LOize LL /
_Caclisle, in FC ATERS ae

3. whe Claimant’s “ocidence at the time of his loss or injury:
SON. OS arcasrn wah 2.)
/ ow if a

A, The names of ALL persons involved in this claim or having knowledge of
the circumstances are: fe oo,
DPE. Liga les, (VO SAK Card Wusree
Nira éabbor
5. The date of the loss or injury, the extent of the loss or injury, and the

circumstances which brought about this claim are as follows: G Lefacd vutoide srg LYLE?
, Cray ltrs Grrera-f , )

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. Piatra Ke Feira Injecying ag Feott body
6. The amount of damages sought by Claimant is as follows: SCL b CKD

Dated: Lp! 95 | 21- ON. foe

(Month) (Day) (Year) Ss [Claimant

G-55
Case 2:22-cv-00268-JPH-MKK Document 1-1 Filed 07/05/22 Page 5 of 18 PagelD #: 10

CERTIFICATE OF SERVICE

Claimant hereby swears, under penalties for perjury, that a true and correct copy of the
foregoing notice has been served upon the Attorney General of Indiana and the Commissioner of

the Indiana Depariment of Correction, as required by Ind.Code §§ 34-13-3-6 and 34-13-3-12 on
this 25 dayof Jung , 20.22.

Claimant pro se
DOC# {163.0%
Wabash Valley Correctional Facility
Post Office Box 1iil
Carlisle, IN 47838

G-55
Case 2:22-cv-00268-JPH-MKK Document 1-1 Filed 07/05/22 Page 6 of 18 PagelD #11 |

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- wef the OE FOR OFFICIAL USE ONLY
OFFENDER GRIEVANCE ye dh . ean bE
State Form 45477 (R5 f 3-20} . . a PL
DEPARTMENT OF CORRECTION atk { \2 “y (eS
To: Facility . -* | Date (month, day, year)
Facility Grievance Specialist 7 :
ss KfLE [7 2.
From (name of offender) BOC number Signature of offender
. f eer) : Ly ff
haimani Girl. TAhn6an AVE Sha F £2 C edb saa Arc?
Housing assignment & Date of incident (month, day, year}

fo 302 2/4 f 22.

Provide a brief, clear statement of your camplaint or concern. include any information thal may assist staff in responding to your grievance.
(NOTE: A Single ONE-sided sheet of paper may be attached if necessary to explain your grievance.)

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Signature of Facility Grievance Specialist Date (month, day, year)
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DISTRIBUTION: Original — Grievance Specialist; Copy - Offender; Copy — Offender Packet; Copy ~ IRIS

Case 2:22-cv-00268-JPH-MKK Document 1-1 Filed 07/05/22 Page 7 of 18 PagelD #: 12

RECORD OF GRIEVANCE EVIDENCE

State Form 56892 (1-20)
INDIANA DEPARTMENT OF CORRECTION

Facllity Case / investigation number Date (month, day, year)
WVCF 138654 02/17/2022
Name of offender Offender DOC number
DOMANIQUE JOHNSON 178369

Description and information

PHU RIGHT - ALL

2-9-22
815A-B45A
Time of incident, if applicable Building / area location
SEE ABOVE PHU RIGHT SIDE
Department
GRIEVANCE

4 A iA_a
LL ft YS.

Signature of Grievance Specialist , Date (month, day, year)
(" 02/17/2022
Printed name of Grievance Speciatfst ¥ a] {/ Position of Grievance Specialist
THOMAS WELLINGTON {) SUPERVISOR
Signature of witness Date (monih, day, year)
Printed name of witness Position of witness

DISTRIBUTION: Original — Grievance Specialist; Copy — Offender; Copy — Offender Packet; Copy—IRIS
Case 2:22-Cv-00268-JPH-MKK Document 1-1 Filed 07/05/22 Page 8 of 18 PagelD #: 13

indiana Department of Correction
Wabash Valley Correctional Facility

_ RECEIPT - ADMINISTRATIVE REMEDY

Date: 17-FEB-22

From: Thomas Wellington
WG

To: Domanique Johnson pOC#E: 178369 ;

WV Housing: PU-PU3-302L Vv

Current Facility; WVD

THIS ACKNOWLEDGES THE RECEIPT OF THE ADMINISTRATIVE REMEDY REQUEST IDENTIFIED BELOW:

Case ID: 438654 Level: | - Formai Grievance

Tate Received: 17-FEB-22
Response Due: 11-MAR-22

Subject: Medical-Exc. Forced Treatment-Other Medical Matters
Wabash Valley Correctional Facility
Offender Grievance Response Report

Case Log # 138654 /
POC No: 178369 Offender Name: Domanique Johnson . Bidg/Range/Bed: PU-PU3-302L
Current Facility: WVD
TOPIC: Medical-Exc. Forced Treatment - Other Medical Matters Incident Date: 09-FEB-22
Response
LEVEL Formissue Date LevelReceive Date Response Date
| - Formal Grievance 17-FEB-22 08-MAR-22

Level Response

HSA S. BEDWELL - | have reviewed your grievance. In regards to medical, Nurse Heather was not present at WYVGF on 2-F-22.
Therefore, this could not have occured.

GRIEVANCE DENIED

Nba

Executive Assistant : Date
LZ Lohan Ef laf EX
Student/Offender Edate/

A
Agree KO Disagree

08-MAR-22 10:32 AM Page tof 1
Case 2:22-cv-00268-JPH-MKK Document 1-1 Filed 07/05/22 Page 10 of 18 PagelD #: 15

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GRIEVANCE APPEAL apa pes
State Form 45473 (R3/ 4-17) aeaQ GD Gate snevance log NUMDEr
DEPARTMENT OF CORRECTION RURTS 738654
OFFENDER GRIEVANCE PROGRAM

Date form sent to offender (month, day, year) Daie of grievance (month, day, yean

03/41/2022 . 02/17/2022

Name of offender DOC number Facility

Dmanique Johnson 178369 WVCEF

Housing assigninent Date grievance response recelved (month, day, year)

PHU 307 03/08/2022

Facility level appeal:

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Signature of offender . + Date signed (month, day, year
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Facility level response:

Signature of warden / designee Date signed (month, day, year)

Please check the appropriate box and return this form to the Facility Grievance Specialist.

P] Agree with facility appeal response.

[] Disagres with facility appeal response. Send appaal to Department Gfiender Grievance Manager.

Signature of offender Date signed (month, Gay, year)

DISTRIBUTION: Copy — Facility Grievance Specialist, Copy — Department Grievance Manager; Copy ~ Offender Packet, Facility, Copy - Offender
Case 2:22-cv-00268-JPH-MKK Document1-1 Filed 07/05/22 Page 11 of 18 PagelD #: 16

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Case 2722-CV-00268-JIPFEAMKK™ Document 1-1 Filéd 07/05/22"

GRIEVANCE APPEAL
State Form 45473 (R3/4-17)
DEPARTMENT GE-CORRECTION Al 438654
OFFENDER GRIEVANCE PROGRAM

Page 12 of 18 PagelD #: 17

Date form seni io offender (month, day, year) Date of grievance (month, day, year)
03/1 1/2022 02/17/2022
Name of offender DOC number Facility
Dmanique Johnson 178369 WVCF
Housing assigninent Date gnevance response received (month, day, year}
puusee<- (9 ALY 03/08/2022

Facility level appeal:

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ths fai 0-- fot s roy

Gute.

Signature of offender a Date Bfie/ (month, day, year)
FZ) ban f, obs vte Eimay / bf. <Z

Facility levet response:

Your grievance appeal and all related documents have been reviewed. You have not provided any
additional information or documentation to support your claim or that would indicate the answer to

your formal atievance should be changed. People ¢ on crutches go up and down stairs all day every day,
your “fall” is suspect at best. You were moved to lower range.

Appeal Denied.

“ED SAG, S le (m fi day, year)
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Please check the appropriate box and return this form to the Facility Grievance Specialist

o with facility appeal response.

Disagree with facility appeal reponse. Send appeal to Department Cffender Grievance Manager.

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ee V Date sign t TH [2 ¥, 9”
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DISTRIBUTION: Copy — Facility Grievance Specialist; Copy - Department Grievance Manager; Copy — Offender Packet, Facility; Copy - Offender
Case 2:22-cv-00268-JPH-MKK Document 1-1 Filed 07/05/22 Page 13 of 18 PagelD #: 18

RECEIPT OF FACILITY LEVEL | APPEAL

Staie Form 56285 (4-17}
INDIANA DEPARTMENT OF CORRECTION

From: Date (month, day, year}

8. Crichfield 03/21/2022
Name of offender BOC number

Domanique Johnson j 178369
Facility Housing assignment

WCF PHU 302V

THIS ACKNOWLEDGES THE RECEIPT OF YOUR FACILITY LEVEL | APPEAL REQUEST BELOW.

Log identification number Date (month, day, year) Response due (month, day, year)

138654 03/21/2022 04/04/2022 |

Case 2:22-cv-00268-JPH-MKK Document 1-1 Filed 07/05/22 Page 14 of 18PagelD #: 19

REQUEST FOR HEALTH CARE fo fn INDIANA DEPARTMENT OF CORRECTION
State Form 45913 (R3/ 9-12)

Approved by State Board of Accounts, 2012 cadet

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frequest Health Care Services as follows:

[_] Sick Cait ("J Dentist (J Prescription Refill [_] Mental Heaith [Al Other (specify)

Nature of complaint

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By my signature, | Hereby indicate that | understand that, in accordance with iC 11-10-3-5, | may be charged $5.00 for Health Care services obtained
at my request and $5.00 for initial (new) prescriptions. | understand that any charge for these services and / or prescriptions shall be withdrawn

automatically from my Trust Fund Account. t will not receive a receipt for this withdrawal; however, | may review the balance of my Trust Account as
provided by facility procedures.

< Signature of Offender Printed name BOC number Date signed (manith, om year)
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Date 2 signed (month, day, year)

L Li fer f 2 ,

Was a new prescription provided? TOTAL AMOUNT OF CO-PAYMENT

Ll] Yes ['] No ao $ :
Amount of Co-Payment Signature of Health Care staff Date signed (month, day, year)
. (_] $5.00 Health Care Contact
() $5.00 New Prescription
- wy 1 a e
# .. Lo Full name of patient
‘ BOC number

DISTRIBUTION: White - Health Care Chart;
Canary - Offender / Business Office

Date of birth (month, day, year)

Case 2:22-cv-00268-JPH-MKK Document 1-1 Filed 07/05/22 Page 15 of 18 PagelD #: 20

REQUEST FOR HEALTH CARE I i e os INDIANA DEPARTMENT OF CORRECTION
HE} State Form 45913 (R3/ 9-12) a _.
Approved by State Beard of Accounts, 2012 a wh, oy P : : de a
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i request Health Care Services as follows:

C1 Sick Call (1) Dentist’

CT] Prescription Refill [Mental Health . [1] Other (specify) -

Nature of complaint :
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By my signature, | hereby indicate that | understand that, in accordance with IC 11-10-3-5, | may be charged $5.00 for Health Care services obtained
at my request and $5.00 for initial (new) prescriptions. | understand that any charge for these services and / or prescriptions shall be withdrawn
automatically from my Trust Fund Account. | will not receive a receipt for this withdrawal; however, | may review the balance of my Trust Account as

provided by facitity procedures.

pte, if .
Signature of Offender fof Printed name DOC number Date signed (month, day, year)
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TOTAL AMOUNT OF CO-PAYMENT

Was a new prescription provided?

ClYes [] No goo
Amount of Co-Payment Signature of Health Care staff Date signed (month, day, year)

[..] $5.00 Health Care Contact

1] $5.00 New Prescription

eo * wt t a te
# en - Full name of patient
a BOC number
wo

Date of Birth (month, day, year)

DISTRIBUTION: White - Health Care Chart;
Canary - Offender / Business Office

Case 2:22-cv-00268-JPH-MKK Document 1-1 Filed omgci2e Page 16 of 18 PagelID #: 21 |
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mb INDIANA DEPARTMENT OF CORRECTION

| request Heaith Care Services as follows:

[1 Sick Call [} Dentist i_] Prescription Refill. [_] Mental Heaith E] Other (specify}
Nature of complaint :
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By my signature, 1 hereby Indicate that | understand that, in accordance with IC 11-10-3-5, | may be charged $5.00 for Health Care services obtained
at my request and $5.00 for initial (new) prescriptions. | understand that any charge for these services and / or prescriptions shail be withdrawn

automatically from my Trust Fund Account. | will nol receive a receipt for this withdrawal; however, | may review the balance of my Trust Account as
provided by facility procedures.

Signature of Offender ;

DOC number Date signed (month, day, year)

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Response of Health Care staff

Signature of Health Care staff

Was a new prescription provided?

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rok skeae aera: ) ania eek

Date signed (month, day, year)

SNe whos etn sckelg det
TOTAL AMOUNT OF CO-PAYMENT

LYes [j No $
Amount of Co-Payment Signature of Health Care staff Date signed (month, day, year)
C1 $8.00 Health Care Contact 7
(] $5.00 New Prescription .
a Na tee ee
# Full name of patient

DISTRIBUTION: White - Health Care Chart;
Canary - Offender / Business Office

DOC number

Bate of birth (month, day, year)

Case 2:22-cv-00268-JPH-MKK Document 1- H Filed 07/05/22 Page 17 of 18 PagelD #22
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REQUEST FOR HEALTH CARE we \ “yh Ny Mv ; "yy WL Oo INDIANA DEPARTMENT OF CORRECTION
tg “ ‘ mh i PENNS!
State Form 45913 (R3 / 9-12) LAE AMS ASL
Approved by State Board of Accounts, 2012 ‘ f \ . \ \ , 1 ,
\ ‘ ‘

Srens tare mona en) ela 9 0), eee eee

1 request Health Care Services as follows:

[1 Sick Call C1 Dentist [] Prescription Refill [3 Mental Health LT other (specify)

Nature of compiaint

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By my signature, | hereby indicate that | understand that, in accordance with IC 11-10-3-5, [ may be charged $5.00 for Health Care services obtained
at my request and $5.00 for initial fnew) prescriptions. | understand that any charge for these services and / or prescriptions shall be withdrawn

automatically from my Trust Fund Account. | will not receive a receipt for this withdrawal, however, | may review the Dalance of my Trust Account as
provided by facility procedures.

th
Signature of Offender \ \ ’ Printed name DOC number Date signed (month, day, year)
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Date signed (month, day, year)

Signature of Health Care staff.

Was a new prescription pravided? TOTAL AMOUNT OF CO-PAYMENT

of.
{Yes [] No $ .
_|-Sigridiure of Health Care staff

Amount of Co-Payment Date signed (month, day, year)

[3 $5.00 Health Care Contact a
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ue “ DOC number.

DISTRIBUTION: White - Health Care Chart

Date of birth (month, day, year)
Canary - Offender / Business Office

Case 2:22-cv-00268-JPH-MKK Document 1-1 Filed 07/05/22 Page 18 of 18 PagelD #: 23

RETURN OF GRIEVANCE

Siate Form 45475 (R4 | 4-20)
INDIANA DEPARTMENT OF CORRECTION

To (name of offender) DOC number Facility Daie (month, day, year)
Domanique Johnson 178369 {_\WVCF 05/24/2022
Work assignment Housing assigning
NIA GHU 108
Daie grievance received (month, day, year Date grievance retumed (month, day, year}

05/13/2022 05/24/2022

Plaase check the most appropriate response AND provide an explanation.

Your concern is something that cannot be resolved by the Depariment of Correction.
it goes beyond the authority of the Department.

Your grievance was not timely submitted: [Jeary or [Late

Your concer is a matter not appropriate to the grievance process. See Policy 00-02-301. ‘Your concem may be better
addressed by Classification (see Policy 07-04-1071) or ihe Disciplinary Hearing Board (see Policy 02-04-10}.

A sex offender may not grieve the denial of visits with minors (see Policy 02-07-102).

There is no indication that you were personally affected by the policy, procedure, or action described; and/or this complaint
appears to be submitted on behalf of another person ar group.

Your camplaint cannot be responded to as presented, but may be corrected and submitted again within five (5) business days.

You are identified as a grievance abuser and are restricted from filing additional grievances for:
1] Thirty (30) days [_} Sixty (60) days CL] Ninety (90) days (Pleese explain below.)

The issue in this complaint or concern was addressed previously in Grievance #
Other. SEE BELOW

Please describe your response In further detail.

AO oOo OO OO 0

Out of time frame.

you are having medical issues, submit 6 HGRE. If noi seen you can asieve that.

Signature of Facility Grevarss Specialst . ~ Printed name of Facility Grievance Specialist
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ff you choose to correct the problem(s) listed above, you musi do so and re-submit this form within five (5) business days.

DISTRIBUTION: Copy ~Facliity Grievance Specialist, Copy — Deparment Grievance Manager, Copy — Offender Packet, Facility, Copy — Offender
